                                                                  Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 1 of 68 Page ID #:1015




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                                                                             Attorneys for Defendant Beverly Brown
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                                                                        8                      UNITED STATES DISTRICT COURT
                                                                        9                    CENTRAL DISTRICT OF CALIFORNIA
                                                                        10
                                                                             GRANT & EISENHOFER, P.A.,               CASE NO. 17-cv-05968-PSG-PJW
Spertus, Landes & Umhofer, LLP




                                                                        11
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                                                                                                  Plaintiff,         DEFENDANT BEVERLY
                                                                        12
                                      1990 S. BUNDY DR., SUITE 705




                                                                                                                     BROWN’S NOTICE OF
                                        LOS ANGELES, CA 90025




                                                                                        v.
                                                                        13                                           MOTION AND MOTION TO
                                                                             BEVERLY BROWN; RICHARD                  STRIKE PLAINTIFF GRANT &
                                                                        14   HARPOOTLIAN, P.A.; BIENERT,
                                                                             MILLER & KATZMAN, PLC; DOES 1           EISENHOFER, P.A.’S
                                                                        15   THROUGH 10.,                            PURPORTED ATTORNEY’S
                                                                        16                                           LIEN ON DEFENDANT
                                                                                                  Defendant.
                                                                                                                     BEVERLY BROWN’S
                                                                        17                                           RELATOR RECOVERY AND
                                                                        18                                           REQUEST FOR ORDER
                                                                                                                     RELEASING FUNDS;
                                                                        19                                           MEMORANDUM OF POINTS
                                                                        20                                           AND AUTHORITIES;
                                                                                                                     DECLARATION OF BEVERLY
                                                                        21                                           A. BROWN; DECLARATION OF
                                                                        22                                           SAMUEL A. JOSEPHS

                                                                        23                                           DATE:      March 5, 2018
                                                                                                                     TIME:      1:30 p.m.
                                                                        24                                           Courtroom: 6A

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                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                        2          PLEASE TAKE NOTICE that on March 5, 2018, at 1:30 p.m. in courtroom
                                                                        3    6A of the above-captioned Court located at 350 West 1st Street, Los Angeles,
                                                                        4    California 90012, Defendant Beverly Brown will, and hereby does, move to strike
                                                                        5    Plaintiff Grant & Eisenhofer, P.A.’s purported attorney’s lien on her recovery
                                                                        6    from the settlement in U.S. ex rel Brown v. Celgene Corp., Case No. CV 10-3165-
                                                                        7    GH (the “Celgene Matter”), and further requests that the Court order the release of
                                                                        8    funds currently held by the Clerk of the Court in the Celgene Matter. This
                                                                        9    motion is made on the ground that Plaintiff cannot have a lien on Defendant’s
                                                                        10   recovery because the contingency fee agreement between the parties, the asserted
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                                                                        11   basis of Plaintiff’s purported lien, was voidable under California law at Ms.
                                      1990 S. BUNDY DR., SUITE 705
                                        LOS ANGELES, CA 90025




                                                                        12   Brown’s election and has been voided by Ms. Brown.
                                                                        13         This motion is brought within the instant case as it is a separate and
                                                                        14   independent action involving a fee dispute brought by a law firm against its
                                                                        15   former client. See Mojtahedi v. Vargas, 228 Cal. App. 4th 974, 978-980 (2014).
                                                                        16   This Court can determine the existence and validity of Plaintiff’s purported lien
                                                                        17   upon a noticed motion to strike. See In re Hijacking of Pan American World
                                                                        18   Airways, Inc. Aircraft at Karachi Intern. Airport, 698 F. Supp. 479, 482 (S.D.N.Y.
                                                                        19   1988); Marez v. Bassett, No. CV 06-0118 ABC (RCx), 2011 WL 13213631, at *1,
                                                                        20   *3 (C.D. Cal. Dec. 28, 2011); Kenneally v. Bosa Cal. LLC, No. 09-CV-2039
                                                                        21   WQH JMA, 2011 WL 1045136, at *3 (S.D. Cal. Mar. 22, 2011).
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                                                                                                          1.
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                                                                        1          This motion is based on this notice of motion, the attached memorandum of
                                                                        2    points and authorities, the Declarations of Beverly A. Brown and Samuel A.
                                                                        3    Josephs and attached Exhibits, all pleadings, files, and records in this action, and
                                                                        4    on any further argument and evidence as may be presented to the Court at or
                                                                        5    before the date of the hearing on this motion.
                                                                        6    Dated: January 16, 2018          Respectfully submitted,
                                                                        7                                     SPERTUS, LANDES & UMHOFER, LLP
                                                                        8
                                                                        9                                     /s/
                                                                                                              James W. Spertus
                                                                        10                                    Samuel A. Josephs
Spertus, Landes & Umhofer, LLP




                                                                                                              Attorneys for Defendant Beverly Brown
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                                                                        12          1.   The CDCA has adopted Section 6147 through its Local Rules,
                                                                        13               which G&E agreed to follow when it voluntarily filed the
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                                                                        1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                                        2          Introduction
                                                                        3          For her extraordinary efforts in obtaining $259 million for the United States
                                                                        4    government in the case captioned U.S. ex rel. Brown v. Celgene Corp., Case No.
                                                                        5    CV 10-3165-RGK-SS (the “Celgene Matter”), Judge R. Gary Klausner awarded
                                                                        6    defendant Beverly Brown a well-deserved statutory relator-share of
                                                                        7    $72,595,499.20. But none of that money has been paid to Ms. Brown. Instead,
                                                                        8    the full amount sits in this Court’s registry, where the United States deposited it
                                                                        9    based on a purported attorney fee lien asserted by plaintiff Grant & Eisenhofer
                                                                        10   (“G&E”), Ms. Brown’s predecessor counsel in the Celgene Matter. G&E,
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                                                                        11   however, has no valid lien against Ms. Brown’s recovery as a matter of law. Ms.
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                                                                        12   Brown therefore brings this motion to extinguish G&E’s purported lien and at last
                                                                        13   obtain payment of her statutory relator-share award.
                                                                        14         In March 2017, Ms. Brown negotiated a settlement of the Celgene Matter
                                                                        15   whereby Celgene agreed to pay $259,269,640 to the United States government.1
                                                                        16   The settlement was consummated several months later following government
                                                                        17   approval. Under the False Claims Act, Ms. Brown was statutorily entitled to
                                                                        18   receive 25% to 30% of this settlement.
                                                                        19         Over the next few months, Ms. Brown and the government attempted to
                                                                        20   informally resolve the relator-share issue. During the then-pending negotiations,
                                                                        21   G&E notified the government that it claimed an attorney’s lien of over
                                                                        22   $41,000,000 on Ms. Brown’s recovery. G&E further demanded that the
                                                                        23   government disburse no funds to Ms. Brown until its lien was satisfied. The
                                                                        24   United States then sought and obtained leave from Judge Klausner to deposit the
                                                                        25   entire relator-share amount in the Court’s registry.
                                                                        26
                                                                        27   1
                                                                                    Celgene paid the rest of the $280 million to the state and municipal
                                                                        28   plaintiffs.
                                                                                                                      1.
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                                                                        1          On December 15, 2017, Judge Klausner ruled that Ms. Brown is entitled to
                                                                        2    a twenty-eight percent (28%) relator-share of the Celgene settlement, a total of
                                                                        3    $72,595,499.20. Though G&E filed a motion to intervene in the Celgene Matter
                                                                        4    to litigate the validity of the alleged lien in that action, Judge Klausner declined to
                                                                        5    rule on the validity of G&E’s purported lien, finding that the issue would be best
                                                                        6    adjudicated by this Court in the instant case. Accordingly, based solely on G&E’s
                                                                        7    purported lien, Judge Klausner ordered that Ms. Brown’s entire relator-share
                                                                        8    award remain in the Court’s registry pending an adjudication by this Court.
                                                                        9          The purpose of this motion is to challenge the validity of G&E’s purported
                                                                        10   lien on Ms. Brown’s recovery. As will be made plain below, the Court should
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                                                                        11   find that G&E has no right to a lien and strike it. G&E’s sole alleged basis for the
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                                        LOS ANGELES, CA 90025




                                                                        12   lien – a flawed contingency fee agreement between it and Ms. Brown – was
                                                                        13   voidable because it failed to comply with California Business and Professions
                                                                        14   Code section 6147, and Ms. Brown in fact voided it. Accordingly, there is no
                                                                        15   contract between Ms. Brown and G&E, and thus no basis for a lien. G&E’s
                                                                        16   claimed lien therefore should be stricken and the full amount on deposit in the
                                                                        17   Court registry immediately released to Ms. Brown.
                                                                        18         Morevoer, even if G&E could assert a lien over a portion of Ms. Brown’s
                                                                        19   recovery, the most to which G&E would be entitled under established California
                                                                        20   law is its claimed lodestar of $7,759,350.48 – roughly 18.76% of G&E’s current
                                                                        21   claim of $41,359,350.48. This is because, with a void fee agreement, G&E’s
                                                                        22   asserted lodestar represents the ceiling of its potential recovery from Ms. Brown.
                                                                        23   Thus, even if G&E had a lien, the most that appropriately could be retained in the
                                                                        24   Court registry on account of that lien while the parties litigate the merits of G&E’s
                                                                        25   lodestar claim would be $7,759,350.48. Thus, at an absolute minimum, the
                                                                        26   balance of $64,836,148.72 should be immediately released to Ms. Brown.
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                                                                                                         2.
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                                                                        1          Statement of Relevant Facts
                                                                        2          On October 26, 2009, Ms. Brown executed a written contingency fee
                                                                        3    agreement with G&E (“G&E-Brown Agreement”) to represent her in a qui tam
                                                                        4    False Claims Act action against her then-employer Celgene. Declaration of
                                                                        5    Beverly Brown (“Brown Decl.”) ¶ 3. This agreement neither contained a clause
                                                                        6    authorizing an attorney lien, nor any language stating that the fee was negotiable
                                                                        7    and not set by law as required by California Business and Professions Code
                                                                        8    section 6147. Ms. Brown executed the G&E-Brown Agreement at her home in
                                                                        9    California after discussing her potential representation with then-G&E attorney
                                                                        10   Reuben Guttman. Brown Decl. ¶ 3.
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                                                                        11         G&E filed the Celgene Matter in April 2010. See Dkt. No. 1, Case No. CV
                                      1990 S. BUNDY DR., SUITE 705
                                        LOS ANGELES, CA 90025




                                                                        12   10-3165-RGK-SS. As is typical in qui tam actions, the case remained under seal
                                                                        13   while the government investigated and determined whether to intervene. The case
                                                                        14   was unsealed on March 21, 2014 after both the United States and the various state
                                                                        15   and municipal plaintiffs declined to intervene. See Dkt. No. 99, Case No. CV 10-
                                                                        16   3165-RGK-SS.
                                                                        17         In April 2015, Ms. Brown terminated G&E’s representation after learning
                                                                        18   that G&E was terminating Reuben Guttman from the firm. Ms. Brown then
                                                                        19   retained Mr. Guttman as her new counsel because she had developed a close
                                                                        20   working relationship with him, and trusted him as the lawyer best able to represent
                                                                        21   her interests. Brown Decl. ¶ 5. Ms. Brown also retained defendants Bienert,
                                                                        22   Miller & Katzman PLC and Richard A. Harpootlian, P.A. to represent her as co-
                                                                        23   counsel. See Dkt. No. 181, Case No. CV 10-3165-RGK-SS.
                                                                        24         Two years later, in March 2017, Ms. Brown negotiated a settlement with
                                                                        25   Celgene under which Celgene agreed to pay a total of $280 million to the United
                                                                        26   States and various state and municipal plaintiffs. Brown Decl. ¶ 7. The parties
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                                                                                                         3.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    later agreed that $259,269,640 of the $280 million would be paid to the United
                                                                        2    States.
                                                                        3          On June 21, 2017, Ms. Brown voided the G&E-Brown Agreement. Brown
                                                                        4    Decl. ¶ 12. On September 14, 2017, while the Department of Justice and Ms.
                                                                        5    Brown were negotiating Ms. Brown’s relator-share of the Celgene Matter
                                                                        6    settlement, G&E sent a letter to the Department of Justice asserting that it had a
                                                                        7    purported lien of $41,359,350.48 on Ms. Brown’s recovery, of which
                                                                        8    $7,759,350.48 constituted actual fees and costs. G&E demanded that no
                                                                        9    disbursement be made to Ms. Brown until the lien was satisfied. Brown Decl. ¶
                                                                        10   13. G&E’s letter precipitated the collapse of settlement talks with the Department
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                                                                        11   of Justice, which had previously agreed to pay Ms. Brown her minimum statutory
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                                                                        12   25% relator share and to continue negotiating with Ms. Brown regarding her
                                                                        13   entitlement to amounts above the 25% minimum. See Declaration of Samuel
                                                                        14   Josephs (“Josephs Decl.”) ¶ 7; Exhibit B ¶¶ 20-32. After receiving G&E’s letter,
                                                                        15   however, the Department of Justice refused to pay any amount to Ms. Brown
                                                                        16   without G&E’s permission or a Court order. Josephs Decl. ¶ 7; Exhibit B ¶¶ 20-
                                                                        17   32. Ms. Brown was compelled to file a motion to have the court determine her
                                                                        18   relator-share of the Celgene Matter settlement. See Dkt. No. 504, Case No. CV
                                                                        19   10-3165-RGK-SS. The United States then sought and obtained leave to deposit
                                                                        20   the entire relator share amount with the Court. See Dkt. Nos. 507, 509, Case No.
                                                                        21   CV 10-3165-RGK-SS.
                                                                        22         On December 15, 2017, Judge Klausner ruled that Ms. Brown was entitled
                                                                        23   to a 28% share of the Celgene Matter settlement due to her high personal
                                                                        24   involvement and effort in prosecuting the case. Josephs Decl. ¶ 2; Exhibit A. Ms.
                                                                        25   Brown’s entitlement based on this percentage is $72,595,499.20. Judge Klausner,
                                                                        26   however, declined to adjudicate the validity of G&E’s purported lien, finding that
                                                                        27   the issue was not related to determining Ms. Brown’s relator-share or to the
                                                                        28
                                                                                                         4.
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                                                                        1    underlying disputes in the Celgene Matter. Judge Klausner identified the instant
                                                                        2    case as the appropriate Court to decide the G&E lien claim, and stated that the
                                                                        3    Clerk of the Court would hold all of the relator’s funds until this Court resolved
                                                                        4    the lien dispute. Josephs Decl. ¶ 2; Exhibit A at 7 (“That amount [28% of the
                                                                        5    settlement with the government] will remain in the Court Registry pending
                                                                        6    adjudication of G&E’s lien in either Case No. CV-17-05968 or Case No. 17-
                                                                        7    07122.”).
                                                                        8          Following Judge Klausner’s Order, counsel for Ms. Brown proposed a
                                                                        9    stipulation to G&E, asking G&E to agree to release to Ms. Brown the undisputed
                                                                        10   portion of Ms. Brown’s share of the settlement, $35,797,949.62, while the parties
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                                                                        11   litigate the remaining $36,797,549.48, pursuant to G&E’s claimed lien. Josephs
                                      1990 S. BUNDY DR., SUITE 705
                                        LOS ANGELES, CA 90025




                                                                        12   Decl. ¶ 3. While Ms. Brown disagrees entirely with G&E claims regarding the
                                                                        13   amounts to which it purportedly is entitled, the proposed stipulation would have
                                                                        14   retained in the Court registry funds sufficient to cover G&E’s claimed entitlement
                                                                        15   to 40% of Ms. Brown’s relator share, or $29,038,199, plus an additional
                                                                        16   $7,759,350.48 in attorneys’ fees and costs, for a total of $36,797,549.48.
                                                                        17         During the parties’ Rule 7-3 conference, however, G&E refused to enter
                                                                        18   into the stipulation, citing the lack of sufficient information about other money
                                                                        19   Ms. Brown may have received pursuant to her settlement with Celgene that is not
                                                                        20   the subject of Ms. Brown’s 28% share of her settlement with the federal
                                                                        21   government, because G&E believes it may have a claim to more money. Josephs
                                                                        22   Decl. ¶¶ 4-5.
                                                                        23         G&E Has No Lien Over Ms. Brown’s Recovery as a Matter of Law.
                                                                        24                   The Validity of G&E’s Purported Lien is Appropriately
                                                                        25                   Adjudicated in This Action and Via This Motion to Strike.
                                                                        26         Under California law, the existence, validity, and amount of a predecessor
                                                                        27   attorney’s purported lien over the proceeds of an underlying lawsuit is
                                                                        28
                                                                                                         5.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    appropriately adjudicated through an independent action between the predecessor
                                                                        2    attorney and the client. Mojtahedi v. Vargas, 228 Cal. App. 4th 974, 978-79
                                                                        3    (2014). This case is precisely such an action. Indeed, G&E expressly seeks in
                                                                        4    this case to establish the existence of its claimed entitlement to fees from the
                                                                        5    Celgene Matter, the purported validty of its fee agreement with Ms. Brown, and
                                                                        6    the amount of fees and costs to which it is entitled. See, e.g., First Amended
                                                                        7    Complaint ¶¶ 57-60, 79-80. As this Court previously confirmed, it has
                                                                        8    jurisdiction over this dispute pursuant to 28 U.S.C. § 1332. See Dkt. Nos. 18, 21.
                                                                        9    Thus, the existence and validty of G&E’s claimed lien is squarely before this
                                                                        10   Court.
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                                                                        11            This is the same conclusion Judge Klausner reached in his relator-share
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                                                                        12   order. While federal courts may exercise ancillary jurisdiction to consider
                                                                        13   disputes involving attorney’s fees and liens arising from the cases pending before
                                                                        14   them, whether to exercise such jurisdiction is entirely within a court’s discretion.
                                                                        15   See K.C. ex rel. Erica C. v. Torlakson, 792 F.3d 963, 968 (9th Cir. 2014). Judge
                                                                        16   Klausner desclined to exercise ancillary jurisdiction over the fee dispute between
                                                                        17   G&E and Ms. Brown, finding that the dispute should be adjudicated in the present
                                                                        18   action. See Josephs Decl. ¶ 2; Exhibit A at 7.
                                                                        19            Moreover, this motion is the proper vehicle by which to challenge the
                                                                        20   existence and validty of G&E’s claimed lien. Motions to adjudicate attorney’s
                                                                        21   liens under California law are available in federal court pursuant to a noticed
                                                                        22   motion. See, e.g., Marez v. Bassett, No. CV 06-0118 ABC (RCx), 2011 WL
                                                                        23   13213631, at *1, *3 (C.D. Cal. Dec. 28, 2011). The “motion to strike” moniker
                                                                        24   appears to be the most common name given to motions adjudicating the existence
                                                                        25   and validity of attorneys’ liens considered by federal district courts.2 See, e.g.,
                                                                        26
                                                                        27   2
                                                                                   California state courts identify a motion brought by a client to nullify a
                                                                        28   purported lien asserted by her attorney using a number of different labels. The
                                                                                                                       6.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    Marez, 2011 WL 13213631, at *1; In re Hijacking of Pan American World
                                                                        2    Airways, Inc. Aircraft at Karachi Intern. Airport, 698 F. Supp. 479, 481 (S.D.N.Y.
                                                                        3    1988). Ms. Brown thus brings this motion as a motion to strike.3
                                                                        4                 California Law Governs the G&E-Brown Agreement and G&E’s
                                                                        5                 Purported Lien Claim.
                                                                        6          California law governs the G&E-Brown Agreement and whether G&E is
                                                                        7    entitled to its purported lien. The United States District Court for the Central
                                                                        8    District of California (“CDCA”) has expressly adopted, via its Local Rules, the
                                                                        9    California Business & Professions Code provisions regulating attorneys. In
                                                                        10   addition, under California’s choice of law rules, California Civil Code section
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                                                                        11   1646 embodies California’s choice of law rule regarding contractual matters such
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                                                                        12   as attorney-client fee agreements, and requires application of California law to the
                                                                        13   G&E-Brown Agreement.4
                                                                        14
                                                                        15
                                                                        16
                                                                        17
                                                                        18
                                                                        19
                                                                        20   case law contains opinions considering “motions to expunge” attorney’s liens, see,
                                                                             e.g. Carroll v. Interstate Brands Corp., 99 Cal. App. 4th 1168, 1171 (2002), and
                                                                        21   “motions to quash” attorney’s liens, see e.g. Dranow v. Kane, No. B156386, 2003
                                                                        22   WL 21546061, at *1 (Cal. App. July 10, 2003).
                                                                             3
                                                                                     If the Court finds that there is any substantive difference between a “motion
                                                                        23   to strike” an attorney’s lien and motions to “expunge” or “quash” an attorney’s
                                                                        24   lien, Ms. Brown hereby asks the Court to treat this motion under the appropriate
                                                                             title.
                                                                        25   4
                                                                                     Indeed, this Court applied California law when it granted Ms. Brown’s
                                                                        26   special motion to strike pursuant to California Code of Civil Procedure § 425.16,
                                                                             as well as when it dismissed Plaintiff’s breach of contract claim against Ms.
                                                                        27   Brown under Fracasse v. Brent, 6 Cal. 3d 784 (1972). Dkt. No. 59: December 6,
                                                                        28   2017 Civil Minute Order.
                                                                                                                         7.
                                                                                   NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1                 1.     The CDCA has adopted Section 6147 through its Local Rules,
                                                                        2                        which G&E agreed to follow when it voluntarily filed the
                                                                        3                        Celgene complaint on behalf of Ms. Brown in the CDCA and
                                                                        4                        applied to appear pro hac vice.
                                                                        5          Each federal district court is free to determine how to “regulate the conduct
                                                                        6    of lawyers appearing before them.” Paul E. Iacono Structural Engineer, Inc. v.
                                                                        7    Humphrey, 722 F.2d 435, 439 (9th Cir. 1983). The CDCA, through Local Rule
                                                                        8    83-3.1.2, has expressly adopted California’s ethics rules. The Rule reads in its
                                                                        9    entirety:
                                                                        10         In order to maintain the effective administration of justice and the integrity
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                                                                                   of the Court, each attorney shall be familiar with and comply with standards
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                                                                        11         of professional conduct required of members of the State Bar of California
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                                                                                   and contained in the State Bar Act, the Rules of Professional Conduct of the
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                                                                        12         State Bar of California, and the decisions of any court applicable thereto.
                                                                                   These statutes, rules and decisions are hereby adopted as the standards of
                                                                        13         professional conduct, and any breach or violation thereof may be the basis
                                                                                   for the imposition of discipline. The Model Rules of Professional Conduct
                                                                        14         of the American Bar Association may be considered as guidance.
                                                                        15   C.D. Cal. L.R. 83-3.1.2. See also Rodriguez v. Disner, 688 F.3d 645, 656 (9th
                                                                        16   Cir. 2012) (“Under the [Central District of California’s] local rules, California law
                                                                        17   governs a district court’s determination whether an ethical violation has
                                                                        18   occurred”); ABA Model Rule 8.5(b) (“Choice of Law. In any exercise of the
                                                                        19   disciplinary authority of this jurisdiction, the rules of professional conduct to be
                                                                        20   applied shall be as follows: (1) for conduct in connection with a matter pending
                                                                        21   before a tribunal, the rules of the jurisdiction in which the tribunal sits”);
                                                                        22   Restatement (Third) of the Law Governing Lawyers §5 cmt. h (“If the lawyer’s
                                                                        23   act occurs in the course of representing a client in a litigated matter, the
                                                                        24   presumptive preference is for the lawyer-code rules enforced by the tribunal in
                                                                        25   which the proceeding is pending”).
                                                                        26         The California State Bar Act’s current codification is Business &
                                                                        27   Professions Code chapter 4, sections 6000-6243. See Cal. Bus. & Prof. Code
                                                                        28
                                                                                                         8.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    § 6000 (“This chapter of the Business and Professions Code constitutes the
                                                                        2    chapter on attorneys. It may be cited as the State Bar Act”). Several courts within
                                                                        3    the CDCA have applied provisions of the Business & Professions Code, pursuant
                                                                        4    to Local Rule 83-3.1.2, to conduct of attorneys appearing there. See In re Wright,
                                                                        5    290 B.R. 145, 150-151 (C.D. Cal. 2003) (applying Bus. & Prof. Code §§ 6068 and
                                                                        6    6148 (the latter being the provision addressing the required formalities of an
                                                                        7    attorney-client fee agreement),5 pursuant to Local Rule 83-3.1.2); Englebrick v.
                                                                        8    Worthington Industries, Inc., No. SACV 08-01296-CJC(MLGx), 2016 WL
                                                                        9    6818350, at *9 (C.D. Cal. Aug. 12, 2016) (applying Bus. & Prof. Code § 6068(e)
                                                                        10   pursuant to Local Rule 83-3.1.2).
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                                                                        11         Thus, Business & Professions Code section 6147, the provision regarding
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                                                                        12   required disclosures in attorney-client contingency fee agreements and the
                                                                        13   provision central to this case, has been affirmatively adopted by this Court as a
                                                                        14   rule of professional conduct to which all attorneys appearing before it must
                                                                        15   adhere. Furthermore, G&E had notice of the applicability of the State Bar Act,
                                                                        16   and by extension Section 6147, when its attorneys originally filed the Celgene
                                                                        17   case or later noticed their appearance or appeared pro hac vice. See CDCA L.R.
                                                                        18   83-2.1.3.3 (“Applicants for permission to appear pro hac vice must submit, in each
                                                                        19   case in which the applicant seeks to appear, the following: (a) a completed
                                                                        20   Application of Non-Resident Attorney to Appear in a Specific Case, which must
                                                                        21   include: (1) a certification that the applicant is familiar with the Court’s Local
                                                                        22   Rules….”).6 Therefore, G&E had to comply with the State Bar Act in all aspects
                                                                        23
                                                                             5
                                                                        24          Unlike Section 6148(a), Section 6148(b) does not – on its face – exclude
                                                                             contingency arrangments from its ambit, and G&E has arguably violated the
                                                                        25   provision by refusing to provide Ms. Brown with its time entries.
                                                                             6
                                                                        26          Lesley Weaver, a California attorney, was attorney of record for G&E at the
                                                                             outset of the case. See U.S. ex rel. Brown v. Celgene, Case No. 10-03165, Dkt.
                                                                        27   No. 1 at 70. Jay Eisenhofer, who signed the retainer, was admitted pro hac vice.
                                                                        28   See U.S. ex rel. Brown v. Celgene, Case No. 10-03165, Dkt. No. 177 (noting Mr.
                                                                                                                      9.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    of the Celgene case, and the State Bar Act, in particular Section 6147, governs this
                                                                        2    dispute.
                                                                        3                 2.     Under California’s choice of law rules, California law applies.
                                                                        4          In the event this Court finds that Section 6147 is not applicable by way of
                                                                        5    CDCA Local Rule 83-3.1.2, it should still nevertheless find that California law
                                                                        6    controls under California’s choice-of-law rules.
                                                                        7          A federal district court sitting in diversity is to apply substantive state law
                                                                        8    of the forum state, which includes a forum state’s choice of law rules. See, e.g.,
                                                                        9    Klaxon Co. v. Stentor Electric Mfg. Co., 313 U.S. 487, 496 (1941); Sarver v.
                                                                        10   Chartier, 813 F.3d 891, 897 (9th Cir. 2016). Accordingly, California’s choice of
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                                                                        11   law rules control this dispute.
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                                                                        12         California Civil Code section 1646 embodies California’s choice of law rule
                                                                        13   regarding contractual matters such as attorney-client fee agreements, and it
                                                                        14   provides that an agreement is governed by “the law and usage of the place where
                                                                        15   it is made” when the contract does not indicate a place of performance.7 As noted
                                                                        16   by the Ninth Circuit, a contract is “made” where it is accepted. Arno v. Club Med,
                                                                        17   Inc., 22 F.3d 1464, 1468 n.6 (9th Cir. 1994).
                                                                        18         Ms. Brown accepted the G&E fee agreement at her home in California,
                                                                        19   where she signed the agreement after receiving it already signed on behalf of
                                                                        20   G&E by Jay Eisenhofer. Brown Decl. ¶ 3. Thus, under California Civil Code
                                                                        21   section 1646, California law governs the G&E-Brown Fee Agreement.8
                                                                        22
                                                                        23   Eisenhofer’s pro hac vice admission). See Dkt. No. 177, Case No. CV 10-3165-
                                                                        24   RGK-SS (noting Mr. Eisenhofer’s pro hac vice admission).
                                                                             7
                                                                                   Though G&E represented a California resident who worked in California,
                                                                        25   on behalf of whom G&E brought claims in the Central District of California, the
                                                                        26   G&E-Brown Agreement does not specify where the “performance” of the
                                                                             representation was to occur. Brown Decl. ¶ 3.
                                                                        27   8
                                                                                   Although California Civil Code section 1646 is dispositive of this issue,
                                                                        28   California’s “governmental interest” framework also establishes that California
                                                                                                                     10.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1                 The G&E-Brown Agreement is Voidable, Has Been Voided, and
                                                                        2                 Thus Cannot Serve as a Vasis for a Lien.
                                                                        3          Under California law, an attorney’s lien arises solely from contractual
                                                                        4    agreement, either via express language in the agreement itself or via implication.
                                                                        5    Carroll v. Interstate Brands Corp., 99 Cal. App. 4th 1168, 1172 (2002). Indeed,
                                                                        6    “[u]nlike a service lien or a mechanic’s lien . . . an attorney’s lien is not created by
                                                                        7    the mere fact that an attorney has performed services in a case.” Id. An attorney
                                                                        8    fee lien, in other words, is exclusively a creature of contract. Carroll, 99 Cal.
                                                                        9    App. 4th at 1172.
                                                                        10
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                                                                             law governs the G&E-Brown Fee Agreement. Kearney v. Salomon Smith Barney,
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                                                                        11
                                                                             Inc., 39 Cal. 4th 95, 107 (2006). California has an overriding interest in
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                                                                        12   regulating an attorney’s representation of California citizens, see Fletcher v.
                                                                        13   Davis, 33 Cal. 4th 61, 67 (2004) (“[T]here are no transactions respecting which
                                                                             courts . . . are more jealous and particular, than dealings between attorneys and
                                                                        14   their clients”), and the language used in California Business and Professions Code
                                                                        15   section 6147, the central provision at issue, is strong evidence of California’s
                                                                             interest in “protect[ing] clients and [assuring] fee agreements are fair and
                                                                        16   understood by clients,” Alderman v. Hamilton, 205 Cal. App. 3d 1033, 1037
                                                                        17   (1988). Section 6147(b) expressly states that any contingency fee agreement’s
                                                                             “[f]ailure to comply with any provision of [section 6147] renders the agreement
                                                                        18   voidable at the option of the plaintiff.” Use of such “mandatory, unavoidable, and
                                                                        19   emphatic” language is strong evidence California has made a “basic and
                                                                             fundamental policy choice” that contingency fees which fail to comply with
                                                                        20   Section 6147 are unlawful and voidable. Ribbens Intern., S.A. de C.V. v.
                                                                        21   Transport Intern. Pool, Inc., 47 F. Supp. 2d 1117, 1122 (C.D. Cal. 1999)
                                                                             (resolving a conflict of law dispute in favor of California by noting that the
                                                                        22   language of California Civil Code section 1717(a) rendering nonreciprocal fee
                                                                        23   agreements void was evidence of California’s overriding interest). Thus, applying
                                                                             any other state’s law which would allow a contingency fee agreement that violates
                                                                        24   section 6147 to be enforceable in a California court would defeat the “deterrent
                                                                        25   and protective purposes of section 6147.” Fergus v. Songer, 150 Cal. App. 4th
                                                                             552, 573 (2007). Therefore, because California has an overriding interest in
                                                                        26   protecting its citizens from abusive contingency fee agreements, its law reflecting
                                                                        27   this policy, section 6147, governs in this case.

                                                                        28
                                                                                                         11.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1          The G&E-Brown Agreement does not have an express lien provision.
                                                                        2    Brown Decl. ¶ 3. Therefore, G&E’s only possible lien claim depends on the
                                                                        3    enforceability of the contingency provisions of the contract. Because the G&E-
                                                                        4    Brown Agreement has been voided in its entirety, it consequently has no legal
                                                                        5    force or effect under California law.
                                                                        6          California law imposes strict standards and requirements for attorney fee
                                                                        7    agreements, and in particular contingency fee agreements. Among other
                                                                        8    requirements, a contingency fee agreement must include a “statement that the fee
                                                                        9    is not set by law but is negotiable between the attorney and client.” Cal. Bus. &
                                                                        10   Prof. Code § 6147(a)(4). Failure to comply with that requirement “renders the
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                                                                        11   agreement voidable at the option of the plaintiff, and the attorney shall thereupon
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                                                                        12   be entitled to collect a reasonable fee.” Id. § 6147(b); see also Arnall v. Superior
                                                                        13   Court, 190 Cal. App. 4th 360, 369 (2010) (holding that contingency fee agreement
                                                                        14   was voidable by client under Section 6147 where “sole deficiency was the absence
                                                                        15   of the fee negotiability statement”). The purpose of Section 6147 is to “protect
                                                                        16   clients and to ensure fee agreements are fair and understood by clients.”
                                                                        17   Alderman, 205 Cal. App. 3d at 1037. Accordingly, fee agreements are to be
                                                                        18   strictly construed against the attorney. Id.
                                                                        19         On its face, the G&E-Brown Agreement does not comply with Section 6147
                                                                        20   – it lacks the requisite statement that the contingency fee is “not set by law, but is
                                                                        21   negotiable between the attorney and client.” Ms. Brown accordingly had the
                                                                        22   statutory right to void it, and she in fact exercised that right and voided the
                                                                        23   agreement after months of attempting to get G&E to provide her with its billing
                                                                        24   records and to discuss its fee entitlement in good faith. Brown Decl. ¶ 12.
                                                                        25   Furthermore, because Ms. Brown notified G&E she was voiding the agreement
                                                                        26   while the Celgene Matter was still pending, and before G&E had filed a lawsuit
                                                                        27   against her, her voiding of the agreement was timely. See Fergus, 150 Cal. App.
                                                                        28
                                                                                                         12.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 20 of 68 Page ID #:1034




                                                                        1    4th at 559, 571 (finding client’s voiding of an agreement violative of Section 6147
                                                                        2    timely, and that the client did not ratify the agreement, after voiding it after the
                                                                        3    attorney had filed a lawsuit to collect his contingent fee); Alderman, 205 Cal. App.
                                                                        4    3d at 1035-1036, 1038 (noting that clients successfully voided a contingency fee
                                                                        5    agreement by raising Section 6147 as an affirmative defense to an attorney’s
                                                                        6    lawsuit for his contingent fee).
                                                                        7          Once a fee agreement is voided, it no longer has any legal effect
                                                                        8    whatsoever. See Fergus, 150 Cal. App. 4th at 573 (“If the contingency fee
                                                                        9    agreement is void, there is no contingency fee arrangement.”). At that point, the
                                                                        10   voided contract “is no contract at all; it binds no one and is a mere nullity.” Id.
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                                                                        11   “Consequently, such a contract cannot be enforced.” Id. There is, in other words,
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                                                                        12   no contract between G&E and Ms. Brown, and without a contract, there is no lien.
                                                                        13   See In re Bailey, 197 F.3d 997, 1002 (9th Cir. 1999) (holding that a void
                                                                        14   contingency fee agreement created no lien against the client’s recovery).
                                                                        15         The sole basis upon which Judge Klausner retained Ms. Brown’s relator-
                                                                        16   share award in the Court’s registry was G&E’s purported lien. See Josephs Decl.
                                                                        17   ¶ 2; Exhibit A at 5-7. Indeed, without a lien, the only basis upon which G&E
                                                                        18   could prevent Ms. Brown from receiving her relator-share award would be a pre-
                                                                        19   judgment attachment or other provisional remedy – something to which G&E has
                                                                        20   not shown (and cannot show) any entitlement. Without a valid lien, in other
                                                                        21   words, G&E is no different from any other plaintiff who claims the defendant
                                                                        22   owes it money; it has the right to pursue its claims, but not to deprive the
                                                                        23   defendant of possession and use of her property and assets in the meantime.
                                                                        24   Accordingly, the Court should order the immediate release of all funds held in the
                                                                        25   Court’s registry to Ms. Brown.
                                                                        26
                                                                        27
                                                                        28
                                                                                                         13.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1            G&E is Barred From Recovering Any Fees In Excess of Its Claimed
                                                                        2            $7.7 Million Lodestar.
                                                                        3            Even if the Court were to accept G&E’s claim that it has a valid lien, G&E
                                                                        4    would not be entitled to tie up the tens of million dollars it claims. Rather, as a
                                                                        5    matter of law, G&E’s potential recovery in this case is capped at its actual fees
                                                                        6    and costs incurred, i.e., its claimed lodestar amount of $7.759 million. This
                                                                        7    represents the absolute maximum that could conceivably be retained in the Court
                                                                        8    registry based on G&E’s purported lien.
                                                                        9            Although an attorney’s lien based on a valid and operative contingency fee
                                                                        10   agreement can survive the attorney’s discharge from a case, the “attorney’s
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                                                                        11   recovery is limited to the reasonable value of services actually performed (i.e. its
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                                                                        12   quantum meruit), rather than the full percentage specified in the contract.” S. Cal.
                                                                        13   Gas Co. v. Flannery, 5 Cal. App. 5th 476, 494 (2016) (citing Fracasse v. Brent, 6
                                                                        14   Cal. 3d 784, 786 (1972)); Weiss v. Marcus, 51 Cal. App. 3d 590, 598 (1975)
                                                                        15   (“[W]here an attorney has been discharged (with or without cause) by a client
                                                                        16   with whom the attorney had a contingent fee agreement, upon occurrence of the
                                                                        17   contingency specified in the agreement, the attorney is limited to a [q]uantum
                                                                        18   meruit recovery for the reasonable value of his services rendered to the time of
                                                                        19   discharge.”). In other words, under Fracasse, an attorney is entitled to only
                                                                        20   quantum meruit upon termination from a representation. Fracasse, 6 Cal. 3d at
                                                                        21   786.
                                                                        22           This Court, citing to Fracasse, has already found that G&E is not entitled to
                                                                        23   recover on a breach of contract theory, but rather may pursue only its claim for
                                                                        24   quantum meruit recovery against Ms. Brown. See Dkt. No. 59: December 6, 2017
                                                                        25   Civil Minute Order, at 13-14 (“[U]nder Fracasse, breach of contract is not a
                                                                        26   viable remedy for G&E to pursue. It is limited only to a quantum meruit
                                                                        27   recovery.”). Thus, in the event this Court were to find G&E has a valid lien on
                                                                        28
                                                                                                            14.
                                                                                    NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
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                                                                        1    Ms. Brown’s recovery, the amount of the lien cannot exceed G&E’s quantum
                                                                        2    meruit.
                                                                        3          Furthermore, and critically, where a predecessor law firm’s fee agreement
                                                                        4    has been voided by the client for failure to comply with Section 6147, the law
                                                                        5    firm’s quantum meruit recovery is limited to its lodestar, i.e., its hours worked
                                                                        6    multiplied by its hourly rate. Specifically, where “a client exercises his right to
                                                                        7    void a contingency fee agreement, section 6147 does not permit the trier of fact to
                                                                        8    consider the contingent nature of the fee arrangement in determining a reasonable
                                                                        9    fee.” Fergus, 150 Cal. App. 4th at 573 This is because “[i]f the contingency fee
                                                                        10   agreement is void, there is no contingency fee arrangement.” Id. Moreover,
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11   “[t]he deterrent and protective purposes of section 6147 would be impaired if an
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                                        LOS ANGELES, CA 90025




                                                                        12   attorney who was barred from enforcing a contingency fee agreement would
                                                                        13   nevertheless be entitled to a percentage of the recovery based on the contingent
                                                                        14   risk factor.” Id. Put differently, a law firm with a voided contingency fee
                                                                        15   agreement cannot still get the benefit of that agreement by way of an enhancement
                                                                        16   to lodestar. Instead, the firm is limited to, at most, recoving its actual lodestar
                                                                        17   amount.
                                                                        18         Notably, this rule is consistent with both federal and California law even
                                                                        19   outside the context of a voided fee agreement, as cases repeatedly have held that a
                                                                        20   predecessor counsel’s lodestar is the best barometer of its reasonable fee in
                                                                        21   quantum meruit. See, e.g., Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 553
                                                                        22   (2010) (holding that “the lodestar figure includes most, if not all, of the relevant
                                                                        23   factors constituting a reasonable’ attorney’s fee”); Mesa West, Inc. v. La Moure,
                                                                        24   No. G038601, 2009 WL 388992, at *14 (Cal. Ct. App. Feb. 18, 2009) (upholding
                                                                        25   the trial court’s use of the attorney’s lodestar only to calculate the reasonable fee
                                                                        26   in a quantum meruit action because in such an action an attorney is “entitled to
                                                                        27   recovery only a reasonable fee, not a discounted contingency fee” and “it cannot
                                                                        28
                                                                                                         15.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 23 of 68 Page ID #:1037




                                                                        1    be said that paying [the attorney] his going legal rate for the hours he invoiced
                                                                        2    was reversible error”).
                                                                        3         G&E ignores these well-settled principles in claiming entitlement to tens of
                                                                        4    millions of dollars by virtue of its lien. Indeed, G&E in essence claims that
                                                                        5    despite both a voided fee agreement and having exited the case years before it was
                                                                        6    settled, it nevertheless remains entitled to a contingency fee. Morever, G&E’s
                                                                        7    refusal to release to Ms. Brown even the undisputed portion above and beyond its
                                                                        8    lien demonstrates G&E’s bad faith in asserting its lien in the first place. By way
                                                                        9    of a proposed stipulation, Ms. Brown requested G&E to agree to release to her
                                                                        10   $35,797,949.62, a generous offer that would preserve G&E’s claim to 40% of Ms.
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11   Brown’s share of the settlement, despite the fact that G&E is entitled only to its
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                                        LOS ANGELES, CA 90025




                                                                        12   lodestar under the case law.9 In response, G&E has taken the position that funds
                                                                        13   that Ms. Brown or her counsel have received outside the 28% relator-share
                                                                        14   awarded by Judge Klausner are somehow included as part of G&E’s lien. In other
                                                                        15   words, G&E refuses to release Ms. Brown’s undisputed portion of the 28%
                                                                        16   relator-share on the basis that it may have a claim to other money that is not the
                                                                        17   subject of Ms. Brown’s statutory share, and is thus not being held by the Court.
                                                                        18         G&E’s asserted lodestar – and thus maximum recovery in this action – is
                                                                        19   $7,759,350.48.10 This is the absolute most that could properly be retained in the
                                                                        20   Court registry by virtue of G&E’s claimed lien. Thus, even if the Court declines
                                                                        21   to adjudicate the validty of G&E’s lien by way of this motion, it should
                                                                        22
                                                                        23
                                                                             9
                                                                        24          By the numbers, the proposed stipulation allowed G&E to preserve its claim
                                                                             to 40% of Ms. Brown’s share, or $29,038,199, plus an additional $7,759,350.48 in
                                                                        25   attorneys’ fees and costs, for a total of $36,797,549.48.
                                                                             10
                                                                        26          Ms. Brown disputes G&E’s asserted lodestar, but cannot properly assess
                                                                             G&E’s bills without detailed time entries, which she has been seeking from G&E
                                                                        27   since March 2017. Thus, at this time, she is unable to assess how close to $7.7
                                                                        28   million a fair payment to G&E for its services in quantum meruit would come.
                                                                                                                        16.
                                                                                  NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 24 of 68 Page ID #:1038




                                                                        1    nevertheless release to Ms. Brown all amounts held in the Court registry beyond
                                                                        2    G&E’s claimed lodestar of $7,759,350.48.
                                                                        3          Conclusion.
                                                                        4          Based on the foregoing, Ms. Brown respectfully requests that the Court
                                                                        5    strike G&E’s purported attorney’s lien on her relator’s share recovery in U.S. ex
                                                                        6    rel. Brown v. Celgene Corp., Case No. CV 10-3165-RGK-SS, and order the
                                                                        7    immediate release of the entire award. In the alternative, Ms. Brown respectfully
                                                                        8    requests the Court to find that G&E’s lien cannot exceed its claimed lodestar of
                                                                        9    $7,759,350.48, and order that $64,836,148.72 be released forthwith to Ms. Brown.
                                                                        10   Dated: January 16, 2018         Respectfully submitted,
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11
                                      1990 S. BUNDY DR., SUITE 705




                                                                                                             /s/
                                        LOS ANGELES, CA 90025




                                                                        12
                                                                                                             James W. Spertus
                                                                        13                                   Samuel A. Josephs
                                                                        14                                   Attorneys for Defendant Beverly Brown

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                                                                                                         17.
                                                                                 NOTICE OF MOTION AND MOTION TO STRIKE ATTORNEY LIEN
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 25 of 68 Page ID #:1039




                                                                        1                     DECLARATION OF BEVERLY A. BROWN
                                                                        2          I, Beverly A. Brown, declare as follows:
                                                                        3          1.     I provide this Declaration in support of Defendant Beverly Brown’s
                                                                        4    Motion to Strike Plaintiff Grant & Eisenhofer, P.A.’s (“G&E”) Purported
                                                                        5    Attorney’s Lien on Defendant Beverly Brown’s Relator Recovery and Request for
                                                                        6    Order Releasing Funds. I have personal knowledge of the maters stated in this
                                                                        7    Declaration and, if called upon to do so, I could and would competently testify
                                                                        8    thereto.
                                                                        9          2.     In 2009, I met in California with Reuben Guttman, who I understood
                                                                        10   was then a senior lawyer with Grant & Eisenhofer P.A. (“G&E”).11 I was very
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                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11   impressed with Mr. Guttman’s demeanor and reputation, and after extensive
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                                        LOS ANGELES, CA 90025




                                                                        12   discussions I decided to pursue a case against my then-employer, Celgene
                                                                        13   Corporation (“Celgene”), on behalf of the government due to practices at Celgene
                                                                        14   I believed to be improper or unlawful. I believed that Mr. Guttman was the best
                                                                        15   lawyer to pursue the case on my behalf.
                                                                        16         3.     In order to retain Mr. Guttman, I signed an agreement with his then
                                                                        17   law firm G&E at my home in California. I understand that a true and correct copy
                                                                        18   of that agreement, which is dated October 19, 2009, was submitted to the Court
                                                                        19   under seal in this case in connection with Defendants Bienert Miller & Katzman,
                                                                        20   PLC’s and Richard Harpootlian P.A.’s Motion to Dismiss Plaintiff’s First
                                                                        21   Amended Complaint Pursuant to Rule 12(b)(6), as attached to the Declaration of
                                                                        22   Michael R. Williams at Dkt. No. 32-2. I had never heard from or met Stuart Grant
                                                                        23   or Jay Eisenhofer, the “Managing Directors” of G&E, even though Jay Eisenhofer
                                                                        24
                                                                        25
                                                                        26   11
                                                                                   At all times discussed in this Declaration, including from the time I started
                                                                        27   my employment with Celgene Corporation in 2001 until today, I have resided in
                                                                        28   Southern California.

                                                                                               DECLARATION OF BEVERLY A. BROWN
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 26 of 68 Page ID #:1040




                                                                        1    was the person who signed the agreement sent to me to sign in California. I never
                                                                        2    signed any other fee agreement with G&E.
                                                                        3           4.     I never traveled to any of G&E’s offices nor otherwise left California
                                                                        4    to meet with G&E’s attorneys or staff.
                                                                        5           5.     At the end of April 2015, I learned that G&E was terminating Reuben
                                                                        6    Guttman and he therefeore would be leaving G&E in short order. I knew
                                                                        7    immediately that I was going to follow Reuben to wherever he went after leaving
                                                                        8    G&E. I had initially hired Reuben as my lawyer, and had developed a close
                                                                        9    relationship with him, and his colleague Traci Buschner, over the course of the
                                                                        10   case. Other than Reuben and Traci, I met very few G&E attorneys other than
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11   Reuben and Traci. Most of my interaction was with Reuben and Traci. I
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                                        LOS ANGELES, CA 90025




                                                                        12   understood that Mr. Sabella was a senior lawyer at G&E, and that he had been
                                                                        13   assigned by the firm’s management to oversee my case. Mr. Sabella, however,
                                                                        14   had met with me only one time, here in California, and I rarely spoke with him on
                                                                        15   the phone. I did not have a good feeling about him. The few times I interacted
                                                                        16   with him, he treated me like I was wasting his time and causing him unnecessary
                                                                        17   work. I got the feeling he did not think much of the case, or me, which caused me
                                                                        18   great distress.
                                                                        19          6.     In late April 2015, I signed a letter terminating G&E, addressed to
                                                                        20   Mr. Eisenhofer. A true and correct copy of that letter is attached to this
                                                                        21   Declaration as Exhibit A. Even after sending this letter, I expected that G&E
                                                                        22   attorneys who had worked under Mr. Guttman would have institutional
                                                                        23   knowledge that should help my case, so I authorized Reuben to determine if G&E
                                                                        24   would partner with Reuben to prosecute my case. An outreach occurred through
                                                                        25   Nancy Gertner, a retired federal judge, and Richard Harpootlian, who both
                                                                        26   participated in a call with Mr. Eisenhofer. I understand that G&E refused to
                                                                        27   continue working on my case with Mr. Guttman.
                                                                        28
                                                                                                DECLARATION OF BEVERLY A. BROWN
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 27 of 68 Page ID #:1041




                                                                        1          7.     On March 22, 2017, we reached an agreement with Celgene whereby
                                                                        2    Celgene agreed to pay $259,269,640 to the United States.
                                                                        3          8.     I understand that in June 2015, shortly after Reuben left the firm,
                                                                        4    G&E filed a “Notice of Attorney’s Charging Lien” in the case. A copy of that
                                                                        5    document is attached to this Declaration as Exhibit B.
                                                                        6          9.     On March 7, 2017, when it appeared the case might settle, one of my
                                                                        7    lawyers (Michael Williams) sent a letter to G&E asking it to send, among other
                                                                        8    information, the amount of the claimed lien and “the detailed time and cost
                                                                        9    records supporting the claimed lien amount.” A true and correct copy of this letter
                                                                        10   is attached to this Declaration as Exhibit C.
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                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11         10.    Despite this request more than ten months ago, G&E has never
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                                        LOS ANGELES, CA 90025




                                                                        12   provided me with any detailed time and cost records supporting the fees it claims I
                                                                        13   owe G&E. Specifically, while I understand that G&E claims it incurred more
                                                                        14   than $7.75 million in fees and costs on my case, it has refused to provide any of
                                                                        15   the billing entries to support that claim. The only thing G&E did provide to my
                                                                        16   lawyers was a 3-page document titled “Recapitulation” that showed a claimed fee
                                                                        17   and cost total of $7,759,350.48, but with no time entries or back-up
                                                                        18   documentation to support that claim. A true and correct copy of the document
                                                                        19   G&E sent to my lawyers is attached as Exhibit D. Although this document is
                                                                        20   dated April 21, 2015, I never received it or anything like it at that time. The first
                                                                        21   time I ever saw this document was earlier this year when G&E sent it to my
                                                                        22   lawyers.
                                                                        23         11.    To this day, G&E has refused to provide me with any of its time
                                                                        24   entries or back-up documentation for its claimed fees and costs.
                                                                        25         12.    On June 21, 2017, my attorney Michael Williams sent a letter to the
                                                                        26   lawyers representing G&E in connection with their claimed lien. In that letter,
                                                                        27   with my authorization, Mr. Williams informed G&E that I had voided the October
                                                                        28
                                                                                               DECLARATION OF BEVERLY A. BROWN
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      1   19, 2009 G&E fee agreement. Once I learned that the contingency portion of
      2   G&E's fee agreement did not comply with California law, and that I had the right
     3    to void it, I exercised my right to do so. A true and correct copy of Mr.
     4    Williams's June 21, 2017 letter is attached to this Declaration as Exhibit E.
     5          13.    On September 14, 2017, G&E's lawyers sent a letter to, among
     6    others, the United States Department of Justice. I was very upset to see that, while
     7    G&E claimed it has a lien based on its October 19, 2009 fee agreement with me, it
      8   failed to tell the Department of Justice that the agreement violated California law
      9   and that I had voided it. I was also very upset to see that G&E also told the
     10   Department of Justice that it is entitled to recover $41,359,350.48 in fees from me,
     11   and asked the government to withhold that money from me.
     12         I declare under penalty of perjury under the laws of the State of California
     13   and the United States that the foregoing facts are true and correct.
    14    Executed this Ji_ day of January, 2018, at Los Angeles, California.
    15
    16    Dated: January (~, 2018
    17
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    28
                            DECLARATION OF BEYERL YA. BROWN
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                     EXHIBIT A




                                 EXHIBIT A
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                      EXHIBIT B




                                 EXHIBIT B
Case
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                                                        Page32 of 268 Page
                                                             1 of      PageIDID#:4902
                                                                                #:1046




 1 GRANT & EISENHOFER P.A.
   Mary S. Thomas (Bar No. 175110)
 2 123 Justison Street
 3 Wilmington, DE 19801
   Telephone: (302) 622-7000
 4 Fax: (302) 622 7100
   mthomas@gelaw.com
 5 Attorneys for Grant & Eisenhofer P.A.
 6
                     IN THE UNITED STATES DISTRICT COURT
 7                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
   UNITED STATES OF AMERICA, the States      Case No. 10-cv-03165-GHK-SS
 9 of CALIFORNIA, COLORADO,
10 CONNECTICUT, DELAWARE, FLORIDA,           PLAINTIFF-RELATOR’S
   GEORGIA, HAWAII, ILLINOIS,                FORMER COUNSEL’S
11 INDIANA, LOUISIANA, MARYLAND,             NOTICE OF ATTORNEY’S
12 MASSACHUSETTS, MICHIGAN,                  CHARGING LIEN
   MINNESOTA, MONTANA, NEVADA,
13 NEW HAMPSHIRE, NEW JERSEY, NEW
14 MEXICO, NEW YORK, NORTH
   CAROLINA, OKLAHOMA, RHODE
15 ISLAND, TENNESSEE, TEXAS,
16 VIRGINIA, WASHINGTON, WISCONSIN,
   the DISTRICT OF COLUMBIA, and the
17 CITY OF CHICAGO,
18       Plaintiffs,
         Ex rel.
19 BEVERLY BROWN,
         Plaintiff-Relator,
20
21   v.
22
     CELGENE CORPORATION,
23       Defendant.
24
25
26
27
28

                                NOTICE OF CHARGING LIEN
Case
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                                                                                #:1047




 1                  NOTICE OF ATTORNEY’S CHARGING LIEN
 2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE that Grant & Eisenhofer P.A., former counsel to
 4 Plaintiff-Relator Beverly Brown, has an attorney’s charging lien on any recovery in
 5 this action for the payment of attorneys’ fees and the reimbursement of costs and
 6 disbursements. The terms of the lien are set forth in Plaintiff-Relator’s retention
 7 agreement with Grant & Eisenhofer P.A. dated October 19, 2009, which Grant &
 8 Eisenhofer P.A. will provide to the Court at the appropriate stage of this matter or
 9 at such time as the Court shall direct.
10
11 Dated: June 3, 2015
12                                           Respectfully submitted,
13                                           GRANT & EISENHOFER P.A.
14
15                                           By /s/ Mary S. Thomas
                                             Mary S. Thomas (Bar No. 175110)
16                                           123 Justison Street
                                             Wilmington, DE 19801
17                                           Telephone: (302) 622-7000
18                                           Fax: (302) 622 7100
                                             mthomas@gelaw.com
19
                                             Attorneys for Grant & Eisenhofer P.A.
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                                   NOTICE OF CHARGING LIEN
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                      EXHIBIT C




                                 EXHIBIT C
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                  BIENERT, MILLER & KATZMAN, PLC
                                      ATTORNEYS AT LAW
                                   903 Calle Amanecer, Suite 350
                                   San Clemente, California 92673
                       Telephone (949) 369-3700 • Facsimile (949) 369-3701



                                             March 7, 2017

   VIA E-MAIL & OVERNIGHT MAIL

   Mary S. Thomas
   GRANT & EISENHOFER P.A.
   123 Justison Street, 7th Floor
   Wilmington, DE 19801
   Email: mthomas@gelaw.com

          Re:     United States of America, ex rel. Beverly Brown v. Celgene Corporation
                  Case No. 2:10-cv-03165-RGK-SS

   Dear Ms. Thomas,

           This firm represents the plaintiff-relator Beverly Brown in the above-referenced lawsuit
   (the “Celgene Action”). I write regarding the purported lien Grant & Eisenhofer (“G&E”) has
   filed in the Celgene Action. Without admitting the validity of the purported lien and while
   reserving all of our and our client’s rights, we request that G&E provide us with the amount of the
   claimed lien, the fee agreement or other document that G&E claims entitles it to assert a lien, and
   the detailed time and cost records supporting the claimed lien amount.

          In addition, for each attorney or paralegal who billed time to the case, please indicate:
   (1) whether he or she is still employed by G&E, and (2) if not, his or her current place of
   employment. For each vendor retained to work on the case, please provide back-up as to that
   vendor’s qualifications and written scope of work.

          We appreciate a prompt response.

                                             Regards,

                                             BIENERT, MILLER & KATZMAN, PLC



                                             Michael R. Williams
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                     EXHIBIT D




                                 EXHIBIT D
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                                                                    04/21/15
Beverly Brown                                              Account No. 15690
2847 Panorama Court




Celgene

                                RECAPITULATION


                                   Total Hours to
Timekeeper                              Date        Rate          Total to Date
Adam Block                                 136.00      375.00       $51,000.00
Adrienne Bauer                              94.00      200.00       $18,800.00
Alessandra Phillips                          2.00      325.00          $650.00
Alexandra Dolce                            136.00      325.00       $44,200.00
Amy Owens                                   14.90      325.00         $4,842.50
Beatrice Smith                              11.70      200.00         $2,340.00
Brenda Szydlo                              567.60      680.00      $385,968.00
C. Kirby Happer                            240.00      280.00       $67,200.00
Caroline Poplin                            373.30      850.00      $317,305.00
Carolynn A. Nevers                           1.30      250.00          $325.00
Cathy Aldinger                              18.50      210.00         $3,885.00
Daniel L. Berger                             3.00      975.00         $2,925.00
David Fischer                            1,488.00      660.00      $982,080.00
Edward Lilly                             1,025.10      440.00      $451,044.00
Elizabeth Shofner                          156.70      650.00      $101,855.00
Ethan Weber                                 77.60      250.00       $19,400.00
Geoffrey C. Jarvis                          10.10      895.00         $9,039.50
Greg Goodman                               138.00      325.00       $44,850.00
Jacob Kirkham                               94.90      360.00       $34,164.00
James J. Sabella                           284.10      975.00      $276,997.50
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                                                                         ID #:1052
Beverly Brown                                                            Account No. 15690
2847 Panorama Court                                                                Page 2




Celgene

                                   Total Hours to
Timekeeper                              Date        Rate        Total to Date
James R. Banko                              18.00      595.00     $10,710.00
James Sugarman                             399.90      375.00    $149,962.50
Jennifer Williams                           27.10      400.00     $10,840.00
John C. Kairis                              55.00      775.00     $42,625.00
Joseph Nearey                              180.30      420.00     $75,726.00
Justin Victor                                1.80      410.00        $738.00
Kaywana Adams                                3.50      200.00        $700.00
Kimberly B. Schwarz                      3,091.50      350.00   $1,082,025.00
Kyle McGee                                  29.50      495.00     $14,602.50
Laura Chirico                                0.30      140.00         $42.00
Lawrence Kempner                           292.80      440.00    $128,832.00
Lesley Weaver                              343.80      620.00    $213,156.00
Lydia Ferrarese                            118.30      450.00     $53,235.00
Marc Grobler                                 5.00      250.00      $1,250.00
Maria Morinigo                             796.60      420.00    $334,572.00
Matthew Hartman                              2.90      225.00        $652.50
Michael A. Morris                          383.00      440.00    $168,520.00
Michael Gallagher                          225.00      410.00     $92,250.00
Ned Weinberger                             835.90      450.00    $376,155.00
Oderah Nwaeze                               16.00      360.00      $5,760.00
Philip Schiffrin                            64.30      120.00      $7,716.00
Rebecca Musarra                            429.50      495.00    $212,602.50
Reena Liebling                               4.80      325.00      $1,560.00
Reuben Guttman                             548.70      850.00    $466,395.00
Robyn Finnimore-Pierce                      15.80      210.00      $3,318.00
Ronald E. Wittman                           18.90      225.00      $4,252.50
Sara Haggerty                                0.20      190.00         $38.00
Scott Stanley                              134.50      325.00     $43,712.50
Shehzad Roopani                              2.20      325.00        $715.00
Talyana Bromberg                           322.50      460.00    $148,350.00
Traci Buschner                             886.30      660.00    $584,958.00
Trineka Schuster                             0.70      210.00        $147.00
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                                                                         ID #:1053
Beverly Brown                                                                       Account No. 15690
2847 Panorama Court                                                                           Page 3




Celgene

                                         Total Hours to
Timekeeper                                    Date            Rate         Total to Date
Valisity Beal                                     1,144.20       210.00     $240,282.00
                                                15,271.60                 $7,295,270.50


                                      Disbursements


                       Expert                                               $185,594.87
                       Filing Fee                                             $3,292.77
                       Fax                                                      $248.25
                       Meeting Expense                                          $806.69
                       Outside Counsel                                       $29,766.43
                       Travel                                                $36,080.79
                       Case-Related Publication                                 $105.08
                       Duplication Services                                  $92,094.91
                       Postage & Delivery                                     $5,202.86
                       Service Fees                                             $389.10
                       Telephone                                              $1,925.16
                       Transcription Services                                 $1,953.07
                       Case-Related Research                                 $12,351.18
                       Outside IT Services                                    $1,910.61
                       E-Discovery Data Processing Services                  $30,748.65
                       E-Discovery Data Hosting Services                     $61,558.80
                       Postage and Delivery                                      $50.76
                                                                            $464,079.98



                       TOTAL                                              $7,759,350.48
Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 40 of 68 Page ID #:1054




                      EXHIBIT E




                                 EXHIBIT E
Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 41 of 68 Page ID #:1055



                  BIENERT, MILLER & KATZMAN, PLC
                                      ATTORNEYS AT LAW
                                     903 Calle Amanecer, Suite 350
                                    San Clemente, California 92673
                         Telephone (949) 369-3700 • Facsimile (949) 369-3701


                                             June 21, 2017

   VIA E-MAIL

   Jill Basinger, Esq.
   Rory S. Miller, Esq.
   Glaser Weil Fink Howard Avchen & Shapiro LLP
   10250 Constellation Blvd., 19th Floor
   Los Angeles, CA 90067
   jbasinger@glaserweil.com
   rmiller@glaserweil.com

          Re:     United States ex rel. Brown v. Celgene, 2:10-cv-03165-RGK-SS (C.D. Cal.)
                  Claim for fees and costs by Grant & Eisenhofer

   Dear Jill and Rory,

           I am writing to follow up on our June 15, 2017 telephone conference. As discussed at
   that time and in our earlier email setting the conference, we initiated that call for the purpose of
   meeting and conferring pursuant to L.R. 7-3 in advance of a potential motion relating to the
   claim for fees and costs and purported lien asserted by your client, Grant & Eisenhofer (“G&E”).
   While we continue to hope the parties can reach a resolution of those issues without the need for
   motion practice, we want to ensure that you and your client have a clear understanding of the
   issues we intend to raise in a motion, should one prove necessary to bring this matter to a prompt
   conclusion.

           As you know, my client, Beverly Brown, initially hired Reuben Guttman to represent her
   in the above-referenced action (the “Celgene Action”) while Mr. Guttman was employed by
   G&E. Specifically, after Mr. Guttman was introduced to Ms. Brown by another lawyer and
   traveled to California to meet with her, Ms. Brown elected to retain Mr. Guttman to advise and
   represent her with respect to a potential false claims act case against her then employer, Celgene
   Corporation (“Celgene”). According to G&E’s lien filed with the court in the Celgene Action,
   Ms. Brown executed a fee agreement with G&E dated October 19, 2009 (the “G&E Fee
   Agreement”). A copy of the G&E Fee Agreement, executed by Jay W. Eisenhofer on behalf of
   G&E, is enclosed.

          In May of 2015, without consulting or providing advance notice to Ms. Brown, G&E
   fired Mr. Guttman. Shortly thereafter, Richard A. Harpootlian and Hon. Nancy Gertner (ret.)
   requested on Ms. Brown’s behalf that G&E remain as counsel of record in the case together with
   Mr. Guttman. Ms. Brown wished to have G&E remain as counsel to, among other things, ensure
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                                                                             J. Basinger and R. Miller
                                                                                        June 21, 2017
                                                                                               Page 2


   that there would be adequate resources to bring her case to a successful resolution. G&E refused
   to remain on as Ms. Brown’s counsel. G&E’s only stated reason for this refusal was that it was
   unwilling to work with Mr. Guttman as co-counsel. Mr. Guttman, through his new firm and with
   this firm and Mr. Harpootlian’s firm as co-counsel, thereafter have litigated the case through fact
   discovery, expert discovery, summary judgment, and to the eve of trial.

           On June 3, 2015, shortly after it fired Mr. Guttman, G&E filed notice of an attorney’s
   charging lien in this action. That filing claims G&E has a charging lien “on any recovery in this
   action for the payment of attorneys’ fees and the reimbursement of costs and disbursements.”
   Dkt. No. 190 at 2. It also states “[t]he terms of the lien are set forth in Plaintiff-Relator’s
   retention agreement with Grant & Eisenhofer P.A. dated October 19, 2009[.]” Id.

          G&E does not have a valid or enforceable lien

            Under California law, an attorney can create a valid fee lien with a client in one of two
   ways. First, the attorney can include an express lien provision in the fee agreement with the
   client. Carroll v. Interstate Brands Corp., 99 Cal. App. 4th 1168, 1172 (2002). The G&E Fee
   Agreement includes no such provision. Second, a valid contingency fee agreement creates an
   implied fee lien. Id. Presumably, it is this type of implied lien that G&E contends is the basis
   for its purported lien filed in the Celgene Action. G&E, however, has no valid implied lien
   because it does not have a valid or enforceable contingency fee agreement with Ms. Brown.
   Indeed, it has no fee agreement with Ms. Brown at all.

           As I’m sure you know, California law imposes strict standards and requirements for
   attorney fee agreements, and in particular contingency fee agreements. Among other things, a
   contingency fee agreement must include “a statement that the fee is not set by law but is
   negotiable between the attorney and client.” Cal. Bus. & Prof. Code § 6147(a)(4). Failure to
   comply with this or any of the other statutory requirements “renders the agreement voidable at
   the option of the plaintiff, and the attorney shall thereupon be entitled to collect a reasonable
   fee.” Id. § 6147(b). Once a fee agreement is voided under Section 6147, it no longer has any
   legal effect whatsoever. Fergus v. Songer, 150 Cal. App. 4th 552, 573 (2007) (“[a] void contract
   is no contract at all; it binds no one and is a mere nullity”).

          The G&E Fee Agreement signed by Mr. Eisenhofer does not comply with Section 6147.
   Most notably, it lacks the expressly required statement that “the fee is not set by law but is
   negotiable between the attorney and client.” Courts have repeatedly voided purported
   contingency fee agreements specifically for failure to include this statement. See, e.g., Arnall v.
   Superior Court, 190 Cal. App. 4th 360, 369 (2010); Alderman v. Hamilton, 205 Cal. App. 3d
   1033, 1038 (1988). Because the G&E Fee Agreement does not comply with the statutory
   requirements, Ms. Brown has the right to void it.

         Please be advised that Ms. Brown hereby exercises her right to void the G&E Fee
   Agreement for failure to comply with Section 6147.
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          Because G&E lacks a valid contingency fee agreement, it also lacks a valid lien. Again,
   California law only provides for an implied lien for contingency fee agreements. The G&E Fee
   Agreement, while purporting to be a contingency agreement, is now void. It accordingly “is no
   contract at all; it binds no one and is a mere nullity.” Fergus, 150 Cal. App. 4th at 573. G&E
   thus has no valid lien, and our motion to the court accordingly will request that the court
   extinguish the purported lien filed by G&E on June 3, 2015.

          Whether or not it has a valid lien, G&E is not entitled to recover any fees or costs
          relating to the Celgene Action

          Separate and apart from its lack of a valid lien, G&E is not entitled to recover any fees in
   connection with the Celgene Action.

           It is well established that the sole potential measure of compensation for a predecessor
   law firm in a contingency action is quantum meruit, i.e., the reasonable value of the services
   provided. Fracasse v. Brent, 6 Cal. 3d 784, 791 (1972). A predecessor lawyer is never entitled
   to a percentage of the client’s recovery. Moreover, where a lawyer’s fee agreement fails to
   comply with Section 6147, the lawyer’s quantum meruit recovery is further limited to its
   reasonable lodestar (i.e., reasonable hours billed multiplied by reasonable hourly rate), without
   any enhancement or increase based on the purported contingency risk. This is because “[t]he
   deterrent and protective purposes of section 6147 would be impaired if any attorney who was
   barred from enforcing a contingency fee agreement would nevertheless be entitled to a
   percentage of the recovery based on the contingent risk factor.” Fergus, 150 Cal. App. 4th at
   573.

           Thus, under the best of circumstances, G&E’s best case scenario would be to recover its
   straight-line lodestar, the amount and reasonableness of which it would have the burden to prove
   by a preponderance of the evidence. This would involve, among other things, strict scrutiny of
   G&E’s billing records. But under the facts here, G&E is not entitled to any fees.

           First, the statute of limitations on a claim for quantum meruit is two years. Leighton v.
   Forster, 8 Cal. App. 5th 467, 490 (2017). “Where the claim of quantum meruit is based upon
   services performed under a contract that was void or voidable, the limitations period commences
   to run on either the date the last payment was made toward the attorney fees, or the last date that
   the attorney performed services on the case.” Id. Here, the statute of limitations on G&E’s
   quantum meruit claim began to run, at the latest, on May 15, 2015, when the court granted
   G&E’s motion to withdraw from the Celgene Action. See Dkt. Nos. 177, 187. More than two
   years have passed since that date, and the limitations period on any potential quantum meruit
   claim by G&E has therefore expired.

           Second, even if its quantum meruit claim was not time-barred, that claim would have no
   value. Where an attorney working under a purported contingency arrangement withdraws from
   the representation without proper justification, the attorney is not entitled to any fee. See
   Duchrow v. Forrest, 215 Cal. App. 4th 1359, 1382–83 (2013), Rus, Miliband & Smith v. Conkle
Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 44 of 68 Page ID #:1058

                                                                             J. Basinger and R. Miller
                                                                                        June 21, 2017
                                                                                               Page 4


   & Olesten, 113 Cal. App. 4th 656, 671–76 (2003). Here, the facts show that G&E terminated
   Reuben Guttman without consulting with Ms. Brown, knowing that she had initially hired Mr.
   Guttman and viewed him as her principal lawyer, and thus would wish to have him continue as
   her counsel. By firing Mr. Guttman, in other words, G&E knew it was also effectively firing Ms.
   Brown as a client. Moreover, when Ms. Brown asked G&E to remain as her counsel, it refused
   to do so because it purportedly did not want to work with Mr. Guttman. G&E’s conduct was the
   equivalent of a withdrawal from representing Ms. Brown.

           Moreover, it was not a justified withdrawal. The California Rules of Professional
   Conduct treat the purported inability to work with co-counsel as a permissive, not mandatory,
   ground to withdraw. See Cal. Rule Prof. Conduct 3-700(C)(3). Permissive withdrawals are
   treated with heightened scrutiny, and the withdrawing attorney must prove that its actions were
   so justified that it was entitled to abandon its client and shift to the client and successor counsel
   the burdens associated with bringing the case to a successful conclusion. Rus, Miliband & Smith,
   113 Cal. App. 4th at 675-76. G&E’s purported desire not to work with Mr. Guttman – an
   attorney who had successfully practiced at G&E for many years and is a nationally-recognized
   expert in false claims act cases – does not begin to meet that standard.

           For these reasons, in our motion we intend to ask the court to rule that (1) G&E has no
   valid or enforceable fee lien in the Celgene Action and therefore the purported lien G&E filed on
   June 3, 2015 must be extinguished, and (2) whether or not it has a valid lien, G&E is not entitled
   to recover any fees in connection with the Celgene Action. Please let me know if you would like
   to discuss any of these matters further before we file our motion.

                                              Sincerely,

                                              BIENERT, MILLER & KATZMAN, PLC



                                              Michael R. Williams


   Enclosure
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 45 of 68 Page ID #:1059




                                                                        1                     DECLARATION OF SAMUEL A. JOSEPHS
                                                                        2          I, Samuel A. Josephs, declare as follows:
                                                                        3          1.     I am a partner at Spertus, Landes & Umhofer, LLP, counsel of record
                                                                        4    for Beverly A. Brown in this matter. I am licensed to practice in the State of
                                                                        5    California, and admitted to practice before this Court. I provide this Declaration
                                                                        6    in support of Defendant Beverly Brown’s Motion to Strike Plaintiff Grant &
                                                                        7    Eisenhofer, P.A.’s (“G&E”) Purported Attorney’s Lien on Defendant Beverly
                                                                        8    Brown’s Relator Recovery and Request for Order Releasing Funds. I have
                                                                        9    personal knowledge of the maters stated in this Declaration and, if called upon to
                                                                        10   do so, I could and would competently testify thereto.
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11         2.     Attached as Exhibit A to this Declaration is a true and correct copy
                                      1990 S. BUNDY DR., SUITE 705
                                        LOS ANGELES, CA 90025




                                                                        12   of Dkt. No. 519 in the matter captioned U.S. ex rel. Brown v. Celgene Corp., Case
                                                                        13   No. CV 10-3165-RGK-SS.
                                                                        14         3.     On January 5, 2018, I emailed a proposed stipulation to Steven
                                                                        15   Basileo, counsel for G&E in this matter. The proposed stipulation asked G&E to
                                                                        16   agree to release to Ms. Brown the undisputed portion of Ms. Brown’s share of the
                                                                        17   settlement, $35,797,949.62, while the parties litigate the remaining
                                                                        18   $36,797,549.48, pursuant to G&E’s claimed lien. The proposed stipulation would
                                                                        19   preserve G&E’s claim to 40% of Ms. Brown’s share of the settlement held by the
                                                                        20   Court, or $29,038,199, plus an additional $7,759,350.48 in attorneys’ fees and
                                                                        21   costs, for a total of $36,797,549.48.
                                                                        22         4.     On January 9, 2018, I, along with my partner James Spertus,
                                                                        23   participated in a telephone call with Mr. Basileo pursuant to Local Rule 7-3.
                                                                        24   During the call, Mr. Basileo informed me that G&E would not enter into the
                                                                        25   stipulation, citing the lack of sufficient information about other money Ms. Brown
                                                                        26   may have received pursuant to her settlement with Celgene that is not the subject
                                                                        27
                                                                        28
                                                                                               DECLARATION OF SAMUEL A. JOSEPHS
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 46 of 68 Page ID #:1060




                                                                        1    of Ms. Brown’s 28% share of her settlement with Celgene because G&E believes
                                                                        2    it may have a claim to more money.
                                                                        3          5.     Following the parties’ call, I sent an email to Mr. Basileo confirming
                                                                        4    G&E’s position as stated on the call. Mr. Basileo responded to my email,
                                                                        5    providing that G&E is open to the idea of releasing the undisputed funds, but
                                                                        6    requires more information so that it could properly evaluate the proposal. Mr.
                                                                        7    Basileo asked that G&E be provided with a) information as to payments made by
                                                                        8    the state plaintiffs to Brown, b) information as to the $35 million in fees and
                                                                        9    expenses paid directly from Celgene to Brown and/or successor counsel, and c)
                                                                        10   the overall amount of fees and expenses incurred by successor counsel. Mr.
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11   Basileo further stated that the proposed stipulation assumes that funds already
                                      1990 S. BUNDY DR., SUITE 705
                                        LOS ANGELES, CA 90025




                                                                        12   received by Brown or successor counsel are somehow not disputed or not subject
                                                                        13   to G&E’s lien, which he said is not the case, and stated that G&E requires the
                                                                        14   requested information so that it can determine the maximum amount potentially
                                                                        15   subject to G&E’s lien, and thus ascertain the amount of undisputed funds.
                                                                        16         6.     Notwithstanding any disputes about other funds, if G&E had not been
                                                                        17   terminated and its contract with Ms. Brown had been valid and not voided by Ms.
                                                                        18   Brown, its maximum entitlement to her statutory share from the United States was
                                                                        19   40%, while Ms. Brown was entitled to 60% of the money paid by the United
                                                                        20   States. Here that amount is $35,797,949.62. G&E would not agree to pay this
                                                                        21   undisputed amount and continue litigating the validity of its lien and its purported
                                                                        22   entitlement to fees derived from other sources.
                                                                        23         7.     Attached as Exhibit B to this Declaration is a true and correct copy
                                                                        24   of Dkt. No. 504-4 in the matter captioned U.S. ex rel. Brown v. Celgene Corp.,
                                                                        25   Case No. CV 10-3165-RGK-SS.
                                                                        26         I declare under penalty of perjury under the laws of the State of California
                                                                        27   and the United States that the foregoing facts are true and correct.
                                                                        28
                                                                                               DECLARATION OF SAMUEL A. JOSEPHS
                                                            Case 2:17-cv-05968-PSG-AFM Document 73 Filed 01/16/18 Page 47 of 68 Page ID #:1061




                                                                        1    Executed this 16th day of January, 2018, at Los Angeles, California.
                                                                        2
                                                                        3    Dated: January 16, 2018        ____________________________
                                                                        4                                        Samuel A. Josephs

                                                                        5
                                                                        6
                                                                        7
                                                                        8
                                                                        9
                                                                        10
Spertus, Landes & Umhofer, LLP

                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11
                                      1990 S. BUNDY DR., SUITE 705
                                        LOS ANGELES, CA 90025




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                                                                                               DECLARATION OF SAMUEL A. JOSEPHS
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                     EXHIBIT A




                                 EXHIBIT A
Case
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                      EXHIBIT B




                                 EXHIBIT B
Case 2:17-cv-05968-PSG-AFM
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  4
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  5 San Clemente, California 92673
    Tel: (949) 369-3700/Fax: (949) 369-3701
  6
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  8
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      Justin S. Brooks (admitted pro hac vice)
 10   jbrooks@gbblegal.com
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      1525 Massachusetts Ave.
24    Cambridge, Massachusetts 02138
25    Tel: (617) 851-3812

26
      Attorneys for Plaintiff - Relator
27    BEYERLY BROWN
28


                               DECLARATION OF REUBEN A. GUTTMAN
Case 2:17-cv-05968-PSG-AFM
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  1                           UNITED STATES DISTRICT COURT
  2                         CENTRAL DISTRICT OF CALIFORNIA
  3
      UNITED STATES OF AMERICA, the           Case No. 10-cv-03165 RGK (SSx)
                                                             RE
  4
      States of CALIFORNIA, COLORADO,         Assigned to the Honorable R. Gary Klausner
  5   CONNECTICUT, DELAWARE,                                 DA
      FLORIDA, GEORGIA, HAWAll,               DECLARATION OF REUBEN A.
  6
      ILLINOIS, INDIANA, LOUISIANA,
                                                             CT
                                              GUTTMAN IN SUPPORT OF
  7   MARYLAND, MASSACHUSETTS,                               EDBEVERLY
                                              PLAINTIFF-RELATOR
      MICHIGAN, MINNESOTA,                    BROWN'S MOTION FOR AN ORDER
  8
      MONTANA, NEVADA, NEW                    (1) AWARD ING 30o/o STATUTORY
  9   HAMPSHIRE, NEW JERSEY, NEW              RELATOR SHARE, AND (2)
      MEXICO, NEW YORK, NORTH                 ORDERING THE UNITED STATES TO
 10
      CAROLINA, OKLAHOMA, RHODE               IMMEDIATELY MAKE THE
 11   ISLAND, TENNESSEE, TEXAS,               RELATORSHAREPAYMENTTO
      VIRGINIA, WASHINGTON,                   RELATOR
 12
      WISCONSIN, the DISTRICT OF
 13   COLUMBIA, and the CITY OF               [Filed concurrently with Notice of Motion
      CHICAGO,                                and Motion; Declarations of Beverly A.
 14
                                              Brown and Hon. Nancy Gertner (ret.) ]
                                                                            RE
 15
                       Plaintiffs,           REDACTE                        DA
 16                    Ex rel.
                                             HearingDDate: November 6, 2017 CT
 17                                          Hearing Time: 9:00 a.m.
      BEYERLY BROWN,                         Location:     Courtroom 850    ED
 18
                       Plaintiff-Relator,
 19
      v.
20
      CELGENE CORPORATION,
21
22                   Defendant.
23
24
25
26
27
28


                             DECLARATION OF REUBEN A. GUTTMAN
Case 2:17-cv-05968-PSG-AFM
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  1
                           DECLARATION OF REUBEN A. GUTTMAN
  2
        I, Reuben A. Guttman, declare as follows:
  3          1.    I am a founding partner of Guttman, Buschner & Brooks PLLC ("GBB") and
  4   lead counsel in this matter. I have personal knowledge of the matters stated herein and, if
  5   called upon to do so, I could and would competently testify thereto.
  6          2.    I make this declaration in support of Plaintiff-Relator Beverly Brown's Motion
  7   for an Order (1) Awarding 30% Statutory Relator Share, and (2) Ordering the United States
  8   to Immediately Make the Relator Share Payment to Relator.
  9
            Ms. Brown and counsel's efforts on behalf of the Government
 10                This matter has been pending before this Court for more than 7 years, since
             3.
 11
      April 2010. Throughout this entire period, Ms. Brown's assistance has been indispensable.
 12
            4.     I first met Ms. Brown in 2009.          After initial phone discussions and
 13   correspondence, I traveled to California with my current law partner, Traci Buschner, to
 14   meet with Ms. Brown. I was very impressed with Ms. Brown - in particular by her ability
 15   to synthesize and explain the relevant facts - and felt very strongly that she could bring a
 16   meritorious and viable False Claims Act case against her then employer, Celgene
 17   Corporation ("Celgene").
18          5.     After extensive discussions, Ms. Brown elected to retain me, through my
19    former firm, Grant & Eisenhofer (G&E), to pursue a False Claims Act case against Celgene
20    on behalf of the United States and other government payors. After working with Ms. Brown
21    to develop the case, we filed the action on April 27, 2010. Because the action was pending
22    in California, Jay Eisenhofer of G&E assigned a firm attorney licensed in California to
23    assist in the litigation. With regard to Ms. Brown, she provided assistance on the case from
24    that time through its successful conclusion this year.
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            6.     As is typical in False Claims Act cases, the case was filed under seal and
26    remained so while the government investigated and determined whether or not it would
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      mtervene . the case.
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  1         7.       Ms. Brown provided valuable assistance to the Government during its
  2   investigation period. She meticulously prepared for her meetings with the Government
  3   during its investigation.       She also provided the government with unfettered inside
  4   knowledge of the fraud alleged in her complaint and thousands of documents supporting
  5   her claims. These documents spanned 7 CDs.
  6         8.       At the Government's request, Ms. Brown also wore a recording device while
  7   attending Celgene's National Sales Meeting, while also meeting with government agents
  8   multiple times during the event.
  9         9.       In late 2013, the federal government declined to intervene in the case. The
 10   state and municipal plaintiffs followed suit in early 2014.        Statistically, few qui tam
 11   plaintiffs elect to continue on with their cases after the government declines to intervene.
 12   Ms. Brown, however, did decide to continue with the case. The vast majority of the work
 13   and effort expended by Ms. Brown and her counsel occurred after that point.
 14         10.      Specifically, the lion's share of work, expense, and risk began once depositions
 15   started, and the case remained extremely active from that period until the Court approved
 16   settlement. Since spring 2015, Ms. Brown and current counsel incurred over $3 million in
 17   expenses alone litigating against multi-billion dollar Celgene and its two large international
 18   law firms. The case was significantly delayed, and at increased costs with regard to expert
 19   reports, because the Department of Human Services Centers for Medicare and Medicaid
 20   Services (CMS) twice provided defective data to counsel.
 21         11.      Among other things, Ms. Brown and current counsel:
 22         • Reviewed roughly 4 million pages of documents produced by Celgene and
 23               numerous additional productions from third parties, with many of the documents
 24               produced belatedly while fact and expert depositions were ongoing;
 25         • Took and defended 23 fact depositions in locations throughout the country,
 26               including Atlanta, Dallas, Denver, New York, Los Angeles, Pennsylvania, and
 27               Washington, D.C.;
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  1         • Retained and worked closely with 4 nationally-renowned experts to educate them
  2               about the case, complete their analyses, and draft their initial, rebuttal, and
  3               supplemental reports;
  4         • Took and defended 19 expert depositions in locations throughout the country,
  5               including Seattle, Los Angeles, Houston, New York, and Boston;
  6         • Filed or responded to 9 separate discovery motions;
  7         • Opposed and defeated the bulk of Celgene's motion for summary judgment,
  8               including preparing and filing a nearly 100-page list of uncontroverted facts with
  9               close to 400 exhibits, and a declaration from Ms. Brown that Judge King relied
 10               on heavily;
 11         • Opposed Celgene's motion for reconsideration of the Court's summary judgment
 12               ruling or, alternatively, for interlocutory appeal to the Ninth Circuit;
 13         • Prepared for and participated in three days of mediation and numerous follow-up
 14               discussions with mediators Hon. Layn Phillips (ret.) and Gary Feess (ret.); and
 15         • Extensively prepared for a scheduled April 25, 2017 trial date, including preparing
 16               and filing 7 motions in limine and Daubert motions, while also preparing exhibit
 17               and witness lists, a memorandum of facts and contentions oflaw,jury instructions,
 18               special verdict forms, deposition designations, and witness outlines.
 19         12.      Ms. Brown's personal involvement in this case during discovery was critical
 20 to the case's success and the magnitude of recovery. Ms. Brown was a critical resource for
 21   me and her other attorneys as we furthered our factual and legal theories, engaged in
 22   extensive motion practice, prepared for key depositions, identified key and important
23    documents, and otherwise moved the case toward a successful outcome.
24          13.      Ms. Brown gave a full-day deposition, in which she was an extremely credible
25    witness who substantially bolstered the claims before the Court. She also provided a
26    lengthy declaration in opposition to Celgene's summary judgment motion (Dkt. No. 333-
27    48), which Judge King cited repeatedly in denying summary judgment as to key aspects of
28    Ms. Brown's claims. See Dkt. No. 371 at 2, 5, 27.

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  1         14.    More specifically, Ms. Brown's declaration was the sole basis by which Judge
  2 King found that that a jury should decide whether a 10-year statute of limitations applied,
  3 rather than the shorter 6-year statute oflimitations. Dkt. No. 371 at 27. This added 4 years
  4 to the relevant damages period, preserving a significant amount of damages that otherwise
  5 could have been disallowed before the case moved to trial. Significantly, some ofCelgene's
  6 most egregious conduct occurred during this earlier 4-year time frame.
  7         The Parties reach a $280 million settlement on the eve of trial
  8         15.    After the Court denied the majority of Celgene's Summary Judgment Motion,
  9 we began to prepare for trial, which the Court had scheduled for April 25, 2017. Ms. Brown
 10 and Celgene reached settlement in principle on March 22, 2017, subject to approval by the
 11   United States and the other government plaintiffs. Upon notice that the parties had reached
 12   a deal in principle, but without the government entities having approved the settlement, the
 13   Court continued the trial date until July 25, 2017.
 14         16.    We immediately informed representatives of the United States Department of
 15   Justice of the principal terms of the settlement as soon as it was reached. On April 4, 2017,
 16 current counsel also prepared a comprehensive memorandum for the Department of Justice
 17   to assist with its approval process and familiarize it with the facts of the case. The United
 18   States took approximately 3 months to approve all settlement terms.
 19         17.    By early July, the government still had not approved the settlement, so we were
20    required to resume our trial preparations. Ms. Brown again assisted in these preparations.
21    Among other things, Ms. Brown assisted counsel in drafting Relator's Memorandum of
22    Facts and Contentions of Law, the preparation of witness outlines, and counsel's strategic
23    planning.
24          18.    The government finally did approve the settlement, and Ms. Brown, and
25    Celgene, executed a settlement agreement on July 12, 2017, less than two weeks before the
26    scheduled trial date.
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  1          19.   Under the settlement terms, Celgene payed the United States $259,269,640 on
  2 July 26, 2017. Celgene paid the balance of the $280 million to the various state and
  3 municipal plaintiffs.
  4         Efforts to negotiate Relator's share
  5         20.    On June 14, 2017, in anticipation of settlement approval and finalization, my
  6 office sent the United States Department of Justice ("DOJ") a detailed proposal for
  7 resolution of the statutory relator's share at a full 30 percent relator's share. To allow the
  8 Government to focus attention on the settlement with Celgene, it was agreed that the
  9 Government would turn its attention to the matter of a Relator share after the settlement
 10 was concluded.
 11         21.    After the settlement was finalized in late July 2017, I and my co-counsel
 12 followed up with DOJ through a number of follow-up calls and emails, and by providing
 13   additional authority, in an effort to support its request for relator share. DOJ did not
 14 substantively respond. We continued to follow up with DOJ throughout the first half of
 15   August 2017, with DOJ never providing a substantive response to our proposal for a 30
 16 percent relator share. True and correct copies of our emails exchanges with DOJ during
 17 this time period are attached to this Declaration as Exhibit 1.
 18         22.    On August 15, 2017, having still received no substantive response from DOJ,
 19 my colleague Justin Brooks sent DOJ an email requesting a conference pursuant to Local
20 Rule 7-3 regarding a potential motion by Ms. Brown to seek immediate payment of the
21    minimum 25 percent relator' s share pending ultimate resolution of the relator's share issue.
22 A true and correct copy of Mr. Brooks's August 15, 2017 email is attached to this
23    Declaration as Exhibit 2.
24          23.    The Local Rule 7-3 conference with DOJ took place on August 22, 2017. In a
25    follow up discussion later that week, DOJ agreed that it would pay Relator her 25 percent
26    minimum statutory relator's share immediately, and that Relator and DOJ would continue
27    discussions on any additional amount of relator's share payment over 25% and up to 30%.
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  1 DOJ confirmed this agreement in an email dated August 30, 2017, a true and correct copy
  2   of which is attached to this Declaration as Exhibit 3.
  3         24.    On September 8, 2017, DOJ sent us an agreement for interim payment of the
  4   25 percent relator share. A true and correct copy of DOJ' s email and attached agreement
  5 are attached to this Declaration as Exhibit 4.         My co-counsel Richard Harpootlian
  6   responded to DOJ the same day that the terms of the agreement were agreeable to us.
  7         25.    On September 13, 2017, DOJ sent us an email stating that it expected to have
  8 authority to make the minimum 25 percent relator share payment "within the next day or
  9 so." A true and correct copy of DOJ's September 13, 2017 email is attached to this
 10 Declaration as Exhibit 5.
 11         G&E sends DOJ a letter wrongly claiming to have a lien over Mr. Brown's
 12         relator share award
 13         26.    On September 14, 2017, counsel for G&E emailed a letter to DOJ. At the time
 14   it sent it letter, G&E had not represented Ms. Brown for nearly two and a half years.
 15         27.    In its single-page letter to DOJ, G&E asserted that it "has an attorney's
 16   charging lien" on Ms. Brown's recovery in this action, stating that "[t]he terms of the lien
 17   are set forth in Plaintiff-Relator's retention agreement with Grant & Eisenhofer P.A. dated
 18   October 19, 2009."      G&E continued that it had "incurred fees and expenses of
 19   $7,759,350.48 in representing" Ms. Brown and was entitled to recover this amount, plus a
 20   full 40 percent contingency on Ms. Brown's recovery, bringing the claimed value of its
 21   purported lien to $41,359,350.48. In its letter, G&E requested that the DOJ withhold
 22   $41,359,350.48 from any relator share payments to Ms. Brown. A true and correct copy of
 23   G&E's September 14, 2017 letter is attached to this Declaration as Exhibit 6.
 24         28.    As to G&E's claimed fee and cost amount of $7,759,350.48, it is apparent that
 25   G&E inflated its rates and otherwise improperly billed time to this matter. For instance,
 26   documents generated in 2015, at around the time G&E withdrew from the case, show that
 27   its actual hourly rates were substantially lower than those it used to calculate its claimed
 28   $7,759,350.48 lodestar. In addition, based on discussions with at least one witness and

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  1 other information, G&E has included hours in its purported fee and cost calculation that
  2   were not, in fact, incurred on this case. Notably, G&E has failed to honor a long standing
  3 request tendered by Ms. Brown to provide backup for its fees and costs.
  4         29.    On September 18, 2017, without a Court Order and without any discernible
  5 investigation as to the merits of G&E's assertion, DOJ sent a letter to Ms. Brown' s counsel
  6   stating that, based solely on the letter from G&E, DOJ would not disburse the previously
  7   agreed-upon 25 percent interim relator share payment to Ms. Brown unless G&E consented
  8 in writing to such disbursement. A true and correct copy of DOJ' s September 18, 2017
  9   letter is attached to this Declaration as Exhibit 7.
 10         30.    On September 19, 2017, following receipt of DOJ's letter, Mr. Harpootlian
 11   requested a conference pursuant to Local Rule 7-3 addressing two topics: (1) DOJ's refusal
 12 to pay any funds to Ms. Brown based on the unsworn and unsupported G&E letter; and
 13   (2) Relator's more than three-month old proposal that she receive a 30 percent relator share.
 14         31.    During our conference with DOJ, which took place on September 26, 2017,
 15   we informed DOJ of the following facts, all of which G&E had omitted from or
 16 misrepresented in its letter:
 17      • The G&E Fee Agreement, upon which G&E expressly based its purported lien, failed
 18         to comply with California law and was therefore voidable at Ms. Brown's election;
 19      • Ms. Brown had exercised her right to void the G&E Fee Agreement;
20       • With a void fee agreement, G&E had no lien rights under California law and thus no
21          basis to demand that DOJ withhold any funds from Ms. Brown;
22       • G&E had filed suit against Ms. Brown in the Central District of California more than
23          a month earlier, but had not even served the lawsuit on her; and
24       • Under California law, G&E is entitled to, at the absolute most, a quantum meruit
25          recovery based on its claimed, but unsupported, $7. 7 million in fees and costs, which
26          is a fraction of the $41.3 million it was asking DOJ to withhold.
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  1         32.    Despite presentment of the facts and law, and absent any apparent
  2   investigation into the facts, DOJ remained steadfast in its position that the G&E letter would
  3 govern its payment. DOJ proposed to deposit the relator share with this Court.
  4         33.    Attached to this Declaration as Exhibit 8 is a true and correct copy of a letter
  5 sent by David Wiechert, the lawyer who is representing Mr. Harpootlian's firm and Bienert,
  6 Miller & Katzman in the lawsuit filed against them by G&E, to counsel for G&E pointing
  7 out the omissions and misrepresentations in G&E' s letter to DOJ.
  8         34.    On the issue of 30 percent being the appropriate relator's share, DOJ declined
  9 to offer Ms. Brown anything more than the statutory minimum 25 percent, instead stating
 10 that Ms. Brown should simply propose a different percentage. At no point in its discussions
 11   with Ms. Brown's counsel has DOJ offered any basis for either its statutory minimum offer
 12 or its rejection of Ms. Brown's 30 percent proposal, other than to state that Ms. Brown
 13   should be satisfied with a 25 percent relator share because it is "a lot of money."
 14         35.    Unlike the United States, the State plaintiffs engaged in prompt and
 15   meaningful discussions with us regarding the resolution of a relator share. Ms. Brown
 16   reached agreement with the State plaintiffs for a relator share of 28.5 percent as to their
 17 portion of the settlement.
 18         G&E files but does not serve a lawsuit against Ms. Brown
 19         36.    On August 10, 2017, G&E filed a lawsuit against Ms. Brown and my co-
 20   counsel in this case, Bienert, Miller & Katzman and Richard Harpootlian, P.A. A true and
 21   correct copy of G&E's Complaint, as downloaded from the Court's Pacer website, is
 22   attached to this Declaration as Exhibit 9. The case has been assigned to Judge Phillip S.
 23   Gutierrez.
 24         37.    On September 29, 2017, G&E filed Amended Complaint in its suit against Ms.
 25   Brown and my co-counsel. A true and correct copy of G&E's Amended Complaint, as
 26   downloaded from the Court's Pacer website, is attached to this Declaration as Exhibit 10.
 27         38.    To my knowledge, though its lawsuit against Ms. Brown has been pending for
 28   almost two months, G&E has not served either her or the other defendants with either the

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      1 original Complaint or the Amended Complaint. The Court's docket does not reflect proof
      2   of any such service.
      3         I declare under penalty of perjury under the laws of the United States of America, the
      4   State of California, and the District of Columbia that the foregoing is true and correct.
      5   Executed on October 9, 2017, at Washington, District of Columbia.
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      8                                                      REUBEN A. GUTTMAN

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                                                                        1                             CERTIFICATE OF SERVICE
                                                                        2          I, Samuel Josephs, an employee of Spertus, Landes & Umhofer, LLP
                                                                             located at 1990 S. Bundy Drive, Suite 705 Los Angeles, CA 90025, declare under
                                                                        3    penalty of perjury that I am over the age of eighteen (18) and not a party to the
                                                                             above-entitled proceeding.
                                                                        4
                                                                                   On January 16, 2018, I served the forgoing documents, described as
                                                                        5
                                                                        6    DEFENDANT BEVERLY BROWN’S NOTICE OF MOTION AND
                                                                             MOTION TO STRIKE PLAINTIFF GRANT & EISENHOFER, P.A.’S
                                                                        7    PURPORTED ATTORNEY’S LIEN ON DEFENDANT BEVERLY
                                                                        8    BROWN’S RELATOR RECOVERY AND REQUEST FOR ORDER
                                                                             RELEASING FUNDS; MEMORANDUM OF POINTS AND
                                                                        9    AUTHORITIES; DECLARATION OF BEVERLY BROWN;
                                                                        10   DECLARATION OF SAMUEL A. JOSEPHS
Spertus, Landes & Umhofer, LLP




                                                                                   on all interested parties as follows:
                                 TEL: 310-826-4700; FAX: 310-826-4711




                                                                        11
                                      1990 S. BUNDY DR., SUITE 705




                                                                             []    BY MAIL: I caused such envelope(s) to be deposited in the mail at
                                        LOS ANGELES, CA 90025




                                                                        12         Los Angeles, California with postage thereon fully prepaid to the office of
                                                                        13         the addressee(s) as indicated on the attached service list. I am “readily
                                                                                   familiar” with this firm’s practice of collection and processing
                                                                        14         correspondence for mailing. It is deposited with the U.S. Postal Service on
                                                                                   that same day in the ordinary course of business. I am aware that on motion
                                                                        15         of party served, service is presumed invalid if postal cancellation date or
                                                                                   postage meter date is more than one day after the date of deposit for mailing
                                                                        16         in affidavit.

                                                                        17   [X]   BY E-MAIL: I caused a copy to be transmitted electronically by filing the
                                                                                   foregoing with the clerk of the District Court using its ECF system, which
                                                                        18         electronically notifies counsel for that party.

                                                                        19   []    BY PERSONAL SERVICE: I personally delivered the document listed
                                                                                   above to the persons at the address set forth below. I declare under penalty
                                                                        20         of perjury under the laws of the United States and the State of California
                                                                                   that the above is true and correct.
                                                                        21         I certify under penalty of perjury under the laws of the
                                                                        22   United States of America that the foregoing is true and correct.

                                                                        23         Executed on January 16, 2018, at Los Angeles, California.

                                                                        24
                                                                                                                     /s/ Samuel A. Josephs
                                                                        25                                           Samuel Josephs
                                                                        26
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                                                                        28
                                                                                                       CERTIFICATE OF SERVICE
